Case 2:10-md-02179-CJB-DPC Document 3441-2 Filed 07/25/11 Page1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the O!L RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
KEIT NGO, et al. v. § MAG. JUDGE SHUSHAN
BP Exploration & Production, etal §

EDLA No. 10-4233 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs KHANH TRINH, VAN NGUYEN, JUDY
LAI, ROBERT DOAN, SICE VAN, THIET DO, VIEN PHAN, and TRUNG NGUYEN’S
Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in
all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs KHANH TRINH,
VAN NGUYEN, JUDY LAI, ROBERT DOAN, SICE VAN, THIET DO, VIEN PHAN, and
TRUNG NGUYEN only, as listed on Exhibit “A” attached to said Motion are hereby
dismissed without prejudice. This Order in no way affects the claims of the remaining

Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
